     Case 4:25-cr-00105-MWB   Document 1              Filed 04/08/25   Page 1 of 2

                               \'
                                \\·, '
                                I

                UNITED STA1ES DISTRICT COURT
              MIDDLE DISTR\CT OF PENNSYLVANIA

UNITED STATES OF AMERI4-                 '             NO. 4:25-CR·105

                 V.
                                                       (CHIEF JUDGE BRANN )
MISAEL GARCIA-DIAZ
                                             .    \
                                                       (electronically filed)
                              \
                          I ND[C TM E N T

THE GRAND JURY CHARGES:

                                COUNT 1
                            (Illegal Reentry)
                           8  u.s.q. § 1326(a)

     On or about February 6, 2025, in Tioga County, Pennsylvania,

within the Middle District of Pei'lnsylvania, and elsewhere, the

defendant,

                       MISAEL GARCIA-DIAZ,

an alien, was found in the United States after having been removed on

or about April 22, 2014, through Brownsville, Texas, without first having

obtained permission to re-enter the United States as required by law.

     All in violation of Title 8, United States Code, Sections 1326(a), and

Title 6, United States Code, Sections 202(3) :and (4) and 557.

                                                 A TRUE BILL
Case 4:25-cr-00105-MWB   Document 1   Filed 04/08/25   Page 2 of 2
